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-EXHIBITC |
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You shoutd raad thie information before you
atart taking VIOXX*, Also, read the leafiat each

“{ime you refill your prascription, in case any

information has changed, This leaflet provides
only a summary of certain information about
VIOXX. Your dactor or pharmaclat can give
you an additional lsaflet that is written for
health professionals that contains more
complete information. This laaflet does not
take the place of caraful discussions with your
doctor, You and your dactor should dlacuss
VIOXX when you start taking your medicine
and at regular checkups.

What ls VIOXX?

VIOXX is a nonsteroldal anti-inflammatory
drug (NSAID) that is used to raduce pain and
inflammation (swelling and soranass), VIOXX
Ip avaliable as 4 tablet or a liquid that you
take by mouth. :

VIOXX is a medicine fori ‘

+ relief of osteoarthritis (the arthritis caused
by age-related "wear and tear" on bones
and joints} os

«© yallefof rhaumatotd arthritis in‘adults

« management.of acute pain in adults {Ilke
‘the short-term pain you can get after 8
dental or surgical operation}

«treatment of manstrual pain (pain during
women's monthly periods).

Who should not take VIOXX? _

Do not take VIOXX If you:

« have had an allergic reaction such as
asthma attacks, hives, or swelling of the
throat and face to aspirin or other NSAIDs
(for example, Ibuprofen and naproxen).

» have hadan allergic reaction to rofecoxib,
which is the active ingredient of VIOXX, or .
to any of Its Inactive Ingredisnts. (See
inactive Ingredients at the end of this
leafiat.)

What should | tell my doctor before and:
during treatment with VIOXX?

Tell your doctor If you are:
* pregnant or plan to become pregnant,
VIOXX should not be used in tate

pregnancy becauss it may harm the fetus, :

+ breast-feeding or plan to breast-feed. It is
-not known whether VIOXX is passed
* through to human breast milk and what Its
affects could be on a nursing child,

vat
int Bttaok bial Hlockatl:

llver disaass

heart fallure

high blood prassure

had an allergic reaction to aspirin or other
NSAIDs

+ had @ serlous stomach problem in the
past.

«anne

Tell your dootor about:

+ any other medical problems or allergies
you have now or have had,

«all medicines that you are taking or plan to
take, even those you can get without a
prascription,

Tall your doctor If you develop:
+ serious stomach problems such as ulcer

*Raglatered trademark of MEROK & CO,, Inc,
GOPYRIGHT © MERCK & CO,, inc,, 1998
-All rights reserved,

“cult
“should

Patient Information about
VIOXX® (rofecoxib tablets and oral suspension)
VIOXX® (pronounced “Vi-ox")

for Osteoarthritis, Rheumatold-Arthritls and Pain

Generic name; rofecoxib Cro-fa-COX-lb")

or blading symptoms (for Instances, atamach
burning or black stools, which are signs af
poaalble stomach blasding).

* unexplained walght galn or swolling of the
feat and/ar lags.

+ pkin rash or allergic raactions. If you have
a severe allergic reaction, gat medical help
tight away,

How should { take VIOXX?

VIOXX should be taken ance a day. Your
doctor will decide what dose of VIOXX you
should take and how long you should take lt,
You may take VIOXX with or without food,

Can | tole VIOXX with other medicines?

Tell your doctor about all of the other
madicines you are taking or plan to take
while you are on VIOXX, even other
medicines that you can get without a
prascription. Your doctor may want to chack
that your medicinas are working properly
togathar If you are taking other medicines
such ast

» warfarin (a blood thinnar)

th Shylline {a madicine used. to
sthivie)
t

« tlfampin {an antibiotic}. . .

» ACE Inhibitors (madicines used for high
blood pressure and heart faliure)

+ Iithtum (a medicine used to treat a certain
type of depression).

apitin.for;
a Fide discontinue taki
cofsulting your doctor,

What are the possible side effects of VIOXX?

Serious but rare side effects that have been
reported In patients taking VIOXX and/or
related madicines have included:

» Serious starmach problems, such as
stomach and intestinal bleeding, can
occur with or without warning symptoms, -
These problems, If ssvers, could lead to
hospitalization or death, Although this
happens rarely, you should watch for signs
that you may have this serious side effect
and tall your doctor right away.

acks and, similar serious events have
ditet lh patients tHkIFGVIOXX,

+ Serlous allergic reactions including
swelling of the face, fips, tongue, and/or
throat which may cause difficulty breathing
or swallowing and wheezing occur rarely
but may raquire treatment right away.
Severe skin reactions have also basn
reported, :

» Serlous kidney problems occur rarely,
including acute kidney fallure and
worsening of chronic kidney failure,

» Severe liver problams, including hepatitis,
Jaundice and liver fallure, occur rarely In :
patiants taking NSAIDs, including VIOXX.
Tell your dostor {f you davelop symptoms
of liver problams, These Include nausaa,
tiredness, Itching, tandernass In the right
upper abdomen, and flu-ilke symptoms,

In addition, the following side effects have ~
been raported: anxiety, confusion,
decreased levels of sodium in the blood,
deprassion, fluid in the lungs, hair loss,

hallu clnations, Increased levels of potagslum

In the blood, low blood cell counts, palpitations,
pancraatitls, tingling sensation, unusual

heod ache with stiff neck (asaptlc maningitie),
vatiiga,

Mora common, but lass serious side effacta
rapo rted with VIOXX have included the
following!

Upper and/or jower respiratory Infection
and/or Inflammation

Heaclache

Dizi ness

Diarrhea

Natsea and/or vomiting

Heartburn, stomach paln and upset

Swe lling of the !sgs and/or feat

High blood pressure

Back pain

Tiradiness :

Urinary tract Infection.

These side effects were reported in at least
2% of osteoarthritis patients receiving dally
dosas of VIOXX 12.6 mg to 26 mg in clinical
studies, .

The side effects described above do not
Include all of the side effects reported with
VIOXX, Do not rely on this Isaflet alone for
information about side effacts, Your doctor or
pharmacist can discuss with you a more
complete fist of side affects, Any time you
have & madical problam you think may be
relatad to VIOXX, talk to your doctor,

What else can I do to help manage my
arthritis paln?

Talk to’ your doctor about:

+ Exercise

» Controlling your weight
« Hot and cold traatmants
+ Using support devices,

What else should I know about VIOXX?

This leaflat provides a summary of certain
information about VIOXX, If you have any
questions or concerns about VIOXX,
osteoarthritis, rheimatotd arthritis or pain,

talk to your health professional. Your pharmacist
can give you an additional leaflet that te

* written for health professionals,

Do not share VIOXX with anyone alse; It was
prescribed only for you, It should be taken
only for the condition for which It was
prascribed,

Keap VIOXX and all madicinea out of the
raach of children,

Inactive Ingredients:

Oral suspsnston; citric acid {monohydrate},
sodium citrate (dihydrate), sorbltel sojutlon,
strawberry flavor, xanthan gum, sodium
methylparaben, sodium propytparaben,

Tablets: croscarmeliose sodium,
hydroxypropyl cellulose, lactose,
magnesium stearate, microcrystalline
cellulose, and yallow ferric oxide,

MERCK & CO,, Inc,

tssued’April 2002
Whitehouse Station, NJ 08888, USA 9183906
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Earnings

(& tn aulillans excupl

par share amounts) 2001 Change 2000 Change 1999

Nel income ...5... & 7,281.8 +7% $6,821,7  +16% $ 5,890.5
Asa%ofsales,., 15.3% 16.9% 18.0%
Asa % of average

total assets... L7.3% 17.9% 174%

Earnings per
cotumon share
assuming dilution. , eid FAY $2.90 18% DAD

Net income was up 7% in 2001 and 16% in 2000. Net income
as a percentage of sales was 15.3% in 2001 compared to 16.9%
in.2000 and 18.0% in 1999. The decline in the ratio from 2000 is
principally duc to a higher growth rate in Merck-Medco’s histori-
cally lower-margin business, offset in part by the lower growth
in marketing and administrative expenses, Foreign currency
exchange had a three percentage point unfavorable effect on the
growth rate compared to a one percentage point unfavorable effect
in 2000. The Company's effective income tax rate in 2001 was
30.0%, compared to 30.6% in 2000 and 31.7% in 1999. The
higher effective tax rate in 1999 versus 2000 and 2001 primarily
reflects the nondeductibility of the goodwill write-off recorded in
1999 resulting from the AstraZeneca merger. Net income as 4 pet
centage of average total assets was 17.3% in 2001, 17.9% in 2000
and 17.4% in 1999, Earnings per common share assuming dilu-
tion grew 8% in 200!, compared to 18% in 2000, In 2001 and
2000, earnings per common share assuming dilution increased at a
faster rate than net income as a result of treasury stock purchases,

Distribution of 2001 Sales
and Equity Income

Shi Faw Materials and
a 3 ;odueion Costs

60%

Retalnad

Dividends
7%
ea

ey
¢

Taxes ant
Nal Intarast
B%

Environmental and Other Matters

The Company believes that it is in compliance in all material
respects with applicable environmental laws and regulations, In
2001, the Company incurred capital expenditures of approxi-
mately $197.5 million for environmental protection facilities,
Capital expenditures for this purpose are forecasted to exceed
$500.0 million for the years 2002 through 2006, In addition,
the Compuny’s operating and maintenance expenditures for
pollution control were approximately $88.7 million in 2001,
Expenditures for this purpose for the years 2002 through 2006
are forecasted to approximate $520.0 million.

The Company is a party to a number of proceedings
brought under.the Comprehensive Environmental Response,
Sompensation and Liability Act, commonly known as
Superfund, as well ag under other federal and state statutes.
The Company is also remecliating environmental contamination
resulting from past industrial activity at cerlain of its sites and
has taken an active role in identifying and providing for these
costs. [In management's opinion, the liabilities for all environ-
mental matters which are probable and reasonably estimable
have been accrued. Expenditures for remediation and environ-
mental liabilities were $34.2 million in 2001, and are estimated
at $137.0 million for the years 2002 through 2006. These
amounts do not consider potential recoveries from insurers or
other parties, Although it is not possible to predict with cer-
tainty the outcome of these emvironmental matters, or the ulti-
mate costs of remediation, management does not believe that
any reasonably possible expenditures that may be incurred in
excess of those provided should result in a materially adverse
effect on the Company’s financial position, results of opera-
tions, liquidity of capital resources for any year. (See Note 9 to
the consolidated financial statements for further information.)

In June 2001, the Company received a notice from the
Federal Trade Commission (F'TC) advising the Company that

_ the FTC had closed its investigation into pricing practices,

which commenced in 1996, Merck has been advised by the
U.S. Department of Justice that it is investigating marketing and
selling activities off Merck and other pharmaceutical manufac-
turers. Merck will be working with the government to respond
appropriately to informational requests.

Tn a continuing worldwide dispute between Merck and

Pharmacia Corporation (Pharmacia) over competing claims to

the patent rights to the class of compounds that include rofe-
coxib, the active ingredient in Vioxx, the federal district court in
Washington, D.C,, recently dismissed a Pharmacia claim for
damages for Merck’s sale of Vioxx. Pharmacia may seek an
appeal of this decision. Merck has also received favorable deci-
sions regarding the patent status of Vioxx from courts in the
United Kingdom, Holland and Spain, while receiving no
adverse decisions in-any country, The Company also noted that
a number of federal. and state lawsuits, involving individual.
claims as well as purported class actions, have been filed
against the Company with respect to Vioxx, Some of the law-
guits also name as defendants Pfizer Inc, and Pharmacia, which
market a competing product.¢ Thi Tisyysuits: incliidé allegations
regarding gastrointestinal, bléedt d ‘cardiovascular,events., :
Gdinpanly believes that these Lnwsu telyyith-
Hawillvigorously defend them —

oui'riierit’and will Vi y defend tt scat
Bedm time to time, generic manufacturers of pharmaceutical
products file Abbreviated New Drug Applications (ANDAs)
with the FDA seeking to markcet generic forms of Company
products prior to the expiration of relevant patents owned by the
Company. Generic pharmaceutical manufacturers have submit-
ted ANDAs to the FDA seeking to market in the U.S. a generic
form of Fosamax (alendronate) and Prilosec (omeprazole) prior
to the expiration of the Company's (and AstraZeneca’s in the
case of Prilosec) patents conceming these products. The genetic
companies’ ANDAs include allegations of non-infringement, |
invalidity and unenforceability of the patents, One manufacturer
has received FDA approval to market a generic form of Prilosec,
The Company has filed patent infringersent suits in federal court
against companies filing ANDAs for generic alendronate, and
AstraZeneca and the Company have filed patent infringement

suits in federal court against companies filing ANDAs for

Merck. & Cao, Inc. 2001 Annual Repart 19
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FORM 8-K —
MERCK &CO INC ~ mrk
Filed: January 23, 2001 (period: January 23, 2001)

Report of unscheduled material events or corporate changes.

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TTEM 7, FINANCIAL STATEMENTS AND EXHIBITS

ITEM.9, REGULATION FD DISCLOSURE

EX-99,.B

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SECURITIES AND EXCHANGE COMMISSION
Washington, D.C, 20549

FORM 8-K

CURRENT REPORT
Pursuant to section 13 or 18{(d) of
the Securities Exchange Act of 1934

January 23, 2001

Date of Report (Date of earliest event reported)

MERCK & CO,, INC.

NgW JERSEY *

ec tk tn tat td tm tet et et ot wee

XX-XXXXXXX «

(I.R.8, Employer Identification No.)

1-3305

{commission File Number)

ONE MERCK DRIVE, PO BOX 100, WHITEHOUSE STATION, NT 08889-0100—

- meee

(Zip Code)

(Address of Principal Executive Offices)
(908) 423-1000

Registrant's telephone number, dneluding area code

Case 2:05-md-01657-EEF-DEK Document 10860-2

TTEM 7, FINANCIAL STATEMENTS AND EXHIBITS

{c) BXHIBITS

Exhibit 99(a) Press release issued
January 23, 2001 regarding
aarnings for fourth quarter

Exhibit 99(b) Certain supplemental information
not included in the press release

ITEM 9, REGULATION FD DISCLOSURE

Incoxporated by reference ip a press
23, 2001, attached as Bxhibit 99 (a).
supplemental information no
go (b).

SIGNATURES

Pursuan
the Registrant has duly caused thi
undersigned hereunto duly authorized,

MERCK & CO,, Inc.

Date: January 23, 2001

Filed 04/25/07

Filed with
this document

Filed with
this documant

release issued by the Registrant on danuary
Also incorporated by reference da certain
t ineluded in the presse release, attached’ as Exhibit

ft to the requirements of the Securities Exchange Act of 1934,
5 report to be signed on its behalf by. the

By; /8/ DEBRA A, BOLLWAGE

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DEBRA A, BOLLWAGE
Assistant Secretary

=-2-
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BXHIBIT INDEX

EXHIBIT

NUMBER DESCRIPTION
-99 (a) Prass release iasued January 23, 2003
regarding earnings for fourth quarter
99 (b) Certain supplemental information not
4{ncluded in the press release
~3-
</TEXT>

¢/DOCUMENT>
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Exhibit 99 (a)

Investor Contact; Laura Jordan

Press Contact: Greg Reaves
(908) 423-5185

(908) 423-6022

MERCK'S EARNINGS PER SHARE INCREASED 1B FOR 2000, DRIVEN BY THE
STRONG MOMENTUM OF FIVE KEY PRODUCTS

January 23, 2001 -- Merck & Co., Inc, taday announced
000 were $2.90, an increase of 18% over 21999. Net
fueled by a 23% sales increase to 40,4

WHITEHOUSE STATION, Nid.,
that earnings per share for 2
income grew 16% to §6,821.7 million,
bilidon, for the year.

For the fourth quarter of 2000, earnings per share were $0.75, up 14%
over the fourth quarter of 1999, Fourth quarter net income increased 12% to
$1,764.4 million driven by Bales of $11,5 billion, up ‘28% over the same period

last year.

'Tncome growth for the quarter and the year reflects strong worldwide
sales volume gains, as well as manufacturing productivity improvementa," said
Raymond V, Gilmartin, chairman, president and chief executive officer. "These
gains helped fund our ongoing reasearch and development programs and promotional
campaigns in support of our key products." : . .

. Bales volume growth was driven by the Company's human health products,
which increased 11% and 16% for the fourth quarter and year, respectively, and
the Merck-Medco Managed Care business, Sales outside of the United States
accounted for 36% of the Company's human health saled for the year, Foralgn
exchange reduced the human health sales growth for the fourth quarter by four
percentage points and by two percentage points for the year.

“- more -
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2

Nour reaults refleat the strength of our growth strategy," Mr.
Gilmartin said, “our five key products, VIOXX, ZOCOR, COZAAR/HYZAAR*, FOSAMAX
and SINGULAIR, drove Merck's performance for the year and created a powarfiul
platform for growth," These products accounted for 57% of Merok'a worldwide
human health sales for 2000 and 61% for the fourth quarter,

(gach of the five medicines offers unique competitive advantages," Mr,
Gilmartin said. VIOXX, a onoe-a-day medicine, is the only COX-2 indicated in the
United States both for osteoarthritis and acute pain. Since its extraordinarily
successful 1999 Launch, VIOXX has become the world's fastest growing branded
prescription arthritis medicine, and it is already Merck's second
Largeat~selling medicine. in the United states, VIOXX now accounts for
approximately 50 percent of naw prescriptions in the COX-2 class, daspite being
gacond to market in this class in the United States. VIOXX achieved $2.2 bLiidaon
in sales for the full yaar 2000, with $700 million in the fourth quarter,

A Food and Drug Administration (mDA) Advisory Committee meeting Ls
soheduled for Fab, 8 to review labeling changes Merok has requested based on the
strong results of the ViGoR study. This 8, 000~patient gastrointestinal outcomes
research study, in which VIOXX reduced the riak of serious gastrointestinal
complications by half compared to the NSAID naproxen, was published in November
in THE NEW ENGLAND JOURNAL OF MEDICINE. Abother study, presented in November,
ahowed that VIOXX significantly reduced moderate-to-~severe acute pain after
dental surgery to a greater degree compared to codeine combined with :

acetaminophen.

ZOCOR, Merck's cholesterol-modifying medicine, is showing contimed
strong growth, based on the product's demonstrated ability to act favorably on
ALL major lipid parameters ~ HDL, bbb and triglycerides. ZOCOR has benefited
from an incx‘saned interest in the scientific community about the role that HDL

’ plays in protecting againat cardiovascular evantes. Worldwide pales reached §1.5
billion for the fourth quarter, up 14% over the same period in 1999.

-more-

*COZAAR and HYZAAR are registered trademarks of E.I. DuPont de Nemours &
Company, Wilmington, DE, USA,
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the market for "statin" medicines ia axpanding at
almost 20% a year, primarily from producta such as ZOCOR that oan significantly
affect cholesterol levels at the starting dose, Merck continues its consumer and
education awareness efforts in the United States becauae more than half of the
people who should be taking cholesterol medicines are still untreated,

tn the United States,

COZAAR and HYZAAR maintain atrong Jeaderahip in a class of highly
affective and well-tolexated high blood pressure medicines called angiotensin I1
antagonista (ALTAs), Sales for the two products were $530 million for this
quarter, a 29% increase over 1999 fourth quarter sales, Physiciana continue to.
gain confidence in these products, preseribing them for more than 7 milidon
patients worldwide. This broad acceptance makes COZAAR and HYZAAR the world's

most widely prescribed drugs in their clase.

FOSAMAX, the Leading product worldwide for the treatment and prevention
of postmenopausal o#teoporosis, continues to outperform the competition because
it is the only osteoporosis medicine indicated and consistently proven to reduce
the incidence of fractures of the hip as well as the spine, Sales totaled $315
million this quarter, 9% over the same quarter in 1999,

to strengthen the competitive advantage of FOSAMAX

Merck: continues
through its recent dntroduction of the unique once-weekly formulation, .
Regulatory approvals for FOSAMAX once weekly continue in all parte of the world,

including Australia, Korea and the United Kingdom, In countries where it hag
been launched, such as in the United States and Mexico, sales of the once-weekly

formulation have risen rapidly because of its convenient regimen,

-more=
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SINGULAIR, Merck's once~a-day Leukotriene-antagonist, is one of the
top-selling asthma controllers worldwide, Sales for this quarter were 6245
million, up 44% compared to the same quarter in 1999, Advantages enabling
SINGULAIR to approach market jeadarahip in the United states dnelude that it can
be ussd in children as young ap 2, da not a steroid and that it may improve
compliance because it is an eral rather than an inhaled medication,

The FDA Antiviral Advisory Committee on Jan, 10 unanimously recommended
approval of CANCIDAS, Merck's investigational intravenous antifungal medicine,
for the treatment of invasive aspergillosis in patients who did not respond to
or were intolerant af other antifungal therapies. (The recommendations of the
advisory Committees are not binding on the FDA.)

Merok-Medoo continued ite strong performance in 2000, bolstering its
position as the nation's most successful pharmacy benefit manager, The addition
of the UnitedHealthcare Group contract, with 10 million clients, and the
acquisition of ProVantage with ite 5 million lives helped fuel Merck-Medco! 5
growth, Far the year, the volume of prescriptions handled increasad 22 percent
to more than 450 million and drug spend dnersased 29 percent to $23 billion,
Merdkmadco, com continues dts suoceas: lt now processes more than 110,000
preseriptiona per week and its total prescription sales excead those of all of
the other major online pharmacies combined. :

In commenting on Lts outlook for 2001, the Company reiterates that dt

4s comfortable with the First Call range of analysts! earnings per share “
estimates of $3.15 to $3.25, Merok initially reported thia guidance on Dec, 12,
2000, in a press release’ for the Company's Annual Business Briefing.

“Investors are invited to Listen to a live webcast of Merck's
fourth-quarter earnings conference call today at 9 a.m., EST, by visiting
Mexck's corporate website www.merck.com. The call will be available for replay
on the Merck website until Feb. 6, 2001,

-more~
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”

Merak & Co,, Inc, is a leading research-driven pharmaceutical products
and services company, Merak discovers, develops, manufactures and markets a
broad range of innovative products to improve human and animal health, directly
and through its joint ventures. Merck-Medco Managed Care manages pharmacy
benefits for employers, insurers and other plan sponsors, encouraging the
appropriate use of medicines and providing disease management programa, Through
these complementary capabilities, Marck worka to improve quality of life and
contain overall health-care costes.
“Forward-Looking statements" as that term

ds defined in the Private securities Litigation Reform Act of 1995, No
forward-Looking statement can be guaranteed, and agtual results may differ
materially from thoae projected, We undertake no abligation to publicly update
any forward-looking sbatemant, whether as a result of new information, future
events, ox otherwies. Forward-looking statemantes in this document’ should be
evaluated togather with the many uncertainties that affect our businesses,
particularly those mentioned in the cautionary statementa in Item 1 of our Form
10-K for the yaar ended Dac, 31, 1998, and in our periodic reports on Farm 10~-Q

and Form 6-K (i£ any) which we incorporate by reference.

This press release contains

~-more~
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The Following tables show the financial results for Merck & Co,, Inc.
and subsidiaries for the quarter and the twalve months anded December 31, 2000,
compared with the corresponding periods of the prior yaar, .

(In Millions Except Barnings
per Common Share)
Quarter Ended December 31

2000 1999 CHANGE
Salea $11,467,3 8,963.4 $288
Costs, Expenses and Other
Materials and production 6,570.6 4,644.0 / +4a.ue
Marketing and Administrative 1,774.1 “1,588.6 + Le
Research and development 662.4 — 627.9 + S%
Equity income from affiliates (145.5) , * (180.4) -1L9%
Other (income) expense, net 94,6 . 71,9
Income Before Taxes 2,521.2 2,211.4 +148
Taxes on Income 746.7 638.2
Net Income 1,764.4 1,573.2 12%
Basic Harnings per Common Share 80.77 50,68 +L3% .
Barnings per Common Share $0.75 50.66 $145
Assuming Dilution . . '
Average Shares Outstanding 2,304.8 "2,334.6
2,455.8 2,387.5

Average Shares Outstanding
Assuming Dilution

* The increase in materiale and production. costs for both the three and 12
months ending Dec. 31, 2000, is primarily driven by growth in the Merck-Medco

business.

-more=-
Bales

Coste, Expenses and other
Materiala and production
Marketing and administrative
Research and development
Acquired Research

. Bauity income from affiliates
Other (income) expense, net

Income Before Taxes

Taxes on Income

Net Income

Basic Barnings per Common Bhare

‘Barnings per Common Share
Aasuming Dilution

‘ Average Shares Outstanding ~

Average Shares outstanding
Assuming Dilution

* The increase in materials and production c
months ending Dec, 31, 2000, is primarily

business.

** Normalized for one-time events occurring in 1999 and 20
Before Taxes" for the twelve months ended December 31,

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</ DOCUMENT >

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(In Millions Except Earninge per Common share)
42 Months Ended December 31

$40,363.2

'22,443,8
6,167.7
2,343.8

(764.9)
349.0
9,824.1
3,002.4
6,821.7
$2,96

§2,90

2,306.9

2,353.2

'

#44

$32,714.0

L7,534.2
5,199.9
2,068.3

51,4
(762,0)
3.0
8,619.5
2,723.0
5,890.5
. 82,52

$2.45

2,349.0

2,404.6

+L 9%

+L

we

416%
+L 8%

tL 8%

osts for both the three and 12
driven by growth in the Mexck-Medeo

00, growth of "Income
2000 was 17%.
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EXHIBIT 99 (b)

MERCK & CO., INC,
PRODUCT SALES DETAIL

40 “00 ws. “99
TOTAL TOTAL U.S, U.S.

PRODUCT % CHG § % CHG 8

VIOXX N/M # 700 N/M 8 570
vasoTEc / VASERETIC ~44% 330 073% 65
PRINIVIL / PRINZIDE 26% 240 30% 215
COZAAR / HYZAAR 29% 530 Ag 265
MEVACOR . . 78 125 oy 105
ZOCOR — 14% 1,460 27% 370
AGGRASTAT oe 20% 30 25% 25
SINGULAIR 44% 24500 46% 190
MAXALT 38% 55 33% 40
PROPECIA —LO¥ 450 0% 25
PROSCAR . 4% 125 a% 65
PRIMAXIN O% 155 OF 50
PEPCID 2% . 240 2% 220
FOSAMAX . 9% 315 11e 210
CRIXIVAN/STOCRIN ~29% . 120 15% 55
TIMOPTIC/TIMOPTIC XE . ~24% 65, 0% 20
TRUSOPT/COSOPT . o% 100 0% 45
HEPATITIS VACCINES O% 75 Ox 70
VIRAL VACCINES S% 115 oe 105
25

OTHER VACCINES o% 30 N/M

NOTE: Product sales xrounded to the nearest §5 million.

N / M-- Not Meaningful

& CHG
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MBRCK & CO., INC.
PRODUCT SALES DETAIL

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FULL YEAR 2000 va, FULL YEAR 1999
TOTAL TOTAL U8, U.S, FOREIGN FOREIGN
PRODUCT & CHG i % CHG 8 % CHG

VIOXX N/M $2,160 N/M B1,745 N/M & 415
vasotec / VASERETIC ~22% 1,790 ~2B% 705 ~La8 1,085
PRINIVIL / PRINZIDE 32% . 1,075 35% 965 10% 110
cozaar / HYZAAR 24% 1,715 24% 7°70 24% 945
MEVACOR . ~13% 520 -L1t 425 -21% 95
ZOCOR L7% 5,280 30% 3,420 0% 1,870
AGGRASTAT 63% 130 54% 100 N/M 30
SINGULAIR . 712% B60 : 716% 670 5a% 190
MAXALT ‘ . 81% 190 BLS , 145 Box 45
PROPECIA : BE 195 0% 95 LLS ° 100
PROSCAR 6% ' 470 “5% 230 -2% 240
. PRIMAXIN 5% 605 3% 180 6% 425
PEPCID ~7% 850 ~5E 775 -17% 45
FOSAMAX 22% 1,275 27% 880 13% 395
CRIXIVAN/STOCRIN : -20% 530 -21% 210 -20% 320
TIMOPTIC/TIMOPTIC XE ~14% 255 -18% 70 -12% 185
TRUSOPT/COSOPT ~ «Lhe 365 10% 170 LL4 195
HEPATITIS VACCINES 15% 345 17% B15 0% 30
_ VIRAL VACCINES 6% » 520 5% 485 17% 35
0% 25

OTHER VACCINES 14% 80 38% 55

NOTE: Product sales rounded to the nearest $5 million,
N / M.- Not Meaningful .
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MERCK & CO,, INC,
_ FOURTH QUARTER

4Q “00 4Q “99 & CHG,
TOTAL SALES § 4,467.3 $ 8,963.4 28%
TOTAL COSTS, EXPENSES, &OTHER § 8,956.2 & 6,752.0
Materials &Production — 6,570.6 4,644,0
Marketing &Administrative — 1,774.2 1,588.6
Reasarch &Development ' 662.4 627.9
Equity Income From Affiliates (145.5) (180.4)
Other (Income) /Bxpange, Net 94.6 71,9
PRE-TAX INCOME . $ 2,511.1 $ 2,211.4
TAXES . $ 746.7 5 638.2
TAX RATE . 29.7% 28.9%
NET INCOME S$ 1,764.4 § 1,573.2 12%
EPS - ASSUMING DILUTION 4 0.75 § 0.66 14.
AVG, # SHARES - ASSUMING DILUTION 2,455.8 2,387.5
49 “00 & CHG, VOL PX FX
TOTAL SALES $11,465 2B% 24 6 -2
Total U.S. and Foreign Sales 5,400 11% 14 1 4
U.S . . 3,500 4 20% 17 3 0
Foreign 2,900 ~3% 9 -1 -11

Other Medco Sales 6,065 4B
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MERCK & CO,, INC.

FULL YEAR
2000 1999 & CHG,
TOTAL SALE § 40,363,2 § 32,714.0 23%
TOTAL COSTS, EXPENSES, &OTHER . & 30,539.21 & 24,094,5
Materials &Production 22,443.58 17,534 .2°
Marketing &Administrative 6,167.7 5,199.9
Research &Development- . 2,343.8 2,068.3
Acquired Reasarch ~~ S11
Equity Income From Affiliates (7649) (762.0)
Other (Income) /Expense, Net 349.0 3.0
PRE-TAK INCOME 5 9,824.1 $ 8,619.5
TAXES . $ 3,002.4 $ 2,729.0
TAX RATE 30.6% 31.7%
NET INCOME 5 6,821.7 § 5,890.5 16%
EPS - ASSUMING DILUTION s 2.90, § "2,45 18%
AVG, # SHARES ~- ASSUMING DILUTION 2,353.2. 2,404.6
2000 & CHG, VOL PX FK
TOTAL SALES $40,365 ‘23% 20 4 -1
Total U.S. and Foreign Sales 20,225 16% 19 -1 “2
u,8 12,935 23% 24 = 0
Foreign 7,290 5 10 -1 -4

Other Madeco Sales 20,140 . 32%
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MERCK & CO,, INC,
OTHER FINANCIAL DISCLOSURES
FOURTH QUARTER

2000
OTHER (INCOME) /EXPENSE, NET
4Q “00 4Q “99 ° 2000 1999
INTEREST INCOME B (44,2) & (100.6) “S$ (470.6) B (364,17)
INTERDET EXPENSE 125.3 97~.6 AB4.4 916.9
EXCHANGE (GAINS) /LOSSES (2.5) (B.4) (34.4) (27.2)
MINORITY INTERESTS 77.9 53.8 308.7 922.3
AMORTIZATION OF GOODWILL AND INTANGIBLES 81.0 1B.A 319.2 317.4
Other, net (46.9) (4B .9) (250.2) (462.7)
TOTAL § 94.6 $ 71.9 & 349.0 8 3.0

JOINT VENTURE SALES DETAIL a
All sales reported here are end-market JV sales, presented on a "NET" basis,

rounded to the nearest $5 million.

MERTAL 4Q “00 AQ “99 2000 1999
TVOMEC, HEARTGARD, other avermectins — § 130 $ 135 “ § 535 $ 565
FRONTLINE : 70 45. 345 =. 315
Biologicals . . B0 50 : 320 - 340
Other Animal Health . . 45 65 195 230
Poultry Genetics : us 50 55 215 230
TOTAL MERIAL SALES § 375 $ 350 g1,610 $1,680

AVENTIS PASTEUR-MSD , 4Q “00 4aQ “39 2000 1999
HEPATITIS VACCINES § 25 $ 40 §135 $260
VIRAL VACCINES 10 20 45 79
Other Vaccines ° 100- 90 360 335
TOTAL PM-MSD SALES $135 " $250 , . $540 $565

TOTAL MEDCO PRESCRIPTION/ CLAIMS VOLUME (IN MILLIONS)
2000 1998 & CHG
FIRST QUARTER . 39 34 Be
SECOND QUARTER 98 SL By
THIRD QUARTER . 120 350 33%
FOURTH QUARTER 135 37 39%
AS2 372 22%

YEAR TO DATE

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